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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------x
               USA,                                                SCHEDULING
                                                                   ORDER
               - against -
                                                                   S1 19 Cr. 736-01 (NSR)
FERNANDO FUENTES-REYNA,

                               Defendant(s).
-----------------------------------------------------x
NELSON S. ROMÁN, U.S.D.J.:

         The in-person Faretta Hearing for the above Defendant is scheduled for June 3,

2022 at 3:45 pm in courtroom 218.

         In light of the recent Coronavirus Disease 2019 (“COVID-19”) pandemic affecting New

York, and given the directives provided by the Chief Judge of the United States District Court for

the Southern District of New York to limit in-person court appearances due to the risk presented

by COVID-19, the Public may dial in to observe the proceeding, however, each individual must

mute his/her/their phone during the proceeding. To access the teleconference, please follow these

directions: (1) Dial the Meeting Number: (877) 336-1839; (2) Enter the Access Code:

1231334#; (3) Press pound (#) to enter the teleconference as a guest.

                                                     SO ORDERED.
Dated:         White Plains, New York
               May 27, 2022


                                                     Hon. Nelson S. Román, U.S.D.J.




             5/27/2022
